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            EXHIBIT B 14
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                                  UNDER SEAL

                              DCCA No. 22-BS-0059
                                                                                Clerk of the Court
                          DISTRICT OF COLUMBIA                         Received 03/11/2022 01:38 PM
                                                                       Filed 03/11/2022 01:38 PM
                            COURT OF APPEALS


In the Matter of                    :
                                    :
CONFIDENTIAL (J.B.C.), ESQ. :                Disciplinary Docket No. 2021-D193
                                    :
      Respondent,                   :
                                    :
A Member of the Bar of the District :
 of Columbia Court of Appeals.      :
Bar Number: 455315                  :
Date of Admission: July 7, 1997     :
_______________________________:

  CONSENT MOTION FOR LEAVE TO SUPPLEMENT THE RECORD

      Disciplinary Counsel moves to supplement the record of the February 3, 2022,

Motion to Enforce Subpoena Duces Tecum. Respondent does not object to this

motion being granted but reserves all rights to respond.

      On February 28, 2022, Disciplinary Counsel served Respondent personally

with a subpoena deuces tecum, returnable March 14, 2022. The subpoena is identical

to the one attached to the Motion to Enforce, except for the date of the subpoena and

the return date. Respondent has informed Disciplinary Counsel that he continues to

assert the objections that he has raised in his Opposition to the Motion to Enforce
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and his Cross-Motion to Quash the Subpoena and will not produce the subpoenaed

documents on March 14, 2022.

                                   Respectfully submitted,

                                   Hamilton P. Fox, III
                                   ______________________________
                                   Hamilton P. Fox, III
                                   Disciplinary Counsel
                                   Bar Registration No. 113050


                                   /s/ Jason R. Horrell ______________
                                   Jason R. Horrell
                                   Assistant Disciplinary Counsel
                                   Bar Registration No. 1033885

                                   OFFICE OF DISCIPLINARY COUNSEL
                                   515 5th Street, N.W.
                                   Building A, Room 117
                                   Washington, D.C. 20001
                                   202-638-1501
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                             CERTIFICATE OF SERVICE

        I hereby certify that on this 11th day of March, 2022, I caused a copy of the

foregoing Consent Motion for Leave to Supplement the Records to be served on the

Respondent’s      counsel,    Harry     W.      MacDougald,           Esq.,   by    email   to

hmacdougald@CCEDlaw.com, and by first-class U.S. mail to Harry W.

MacDougald, Esq., Caldwell, Carlson, Elliott & DeLoach, LLP, Two Ravinia Drive,

Suite    1600,    Atlanta,    GA      30345,        to     Robert    Destro   via   email   at

Robert.destro@protonmail.com,          and     to        Charles    Burnham   via   email   at

charles@burnhamgorokhov.com.



                                                     Hamilton P. Fox, III
                                                     ______________________________
                                                     Hamilton P. Fox, III
